 1   Katy M. Young (SBN 267791)
     kyoung@astralegal.com
 2   Marie A. Barnes (SBN 276246)
     mbarnes@astralegal.com
 3   AD ASTRA LAW GROUP, LLP
     582 Market Street, Suite 1903
 4   San Francisco, CA 94104
     Telephone: (415) 795-3579
 5   Facsimile: (415) 276-1976
 6   Attorneys for Plaintiff
     LLOYD BEARDSLEY
 7

 8                               IN THE UNITED STATES DISTRICT COURT
 9                     IN AND FOR THE NORTHERN DISTRICT OF CALIFORNIA
10

11   LLOYD BEARDSLEY,                                        CASE NO.:       3:13-cv-05138 WHA
12                  Plaintiff,                               STIPULATION AND [PROPOSED] ORDER
                                                             RE DISMISSAL OF CASE
13          v.
                                                             Complaint Filed: November 4, 2013
14   SPEEDWAY MOTORSPORT INC., doing                         Assigned Judge: Hon. William H. Alsup
     business as SONOMA RACEWAY; COUNTY
15   OF SONOMA; CHARLES BLOUNT, and
     DOES 1 THROUGH 10, inclusive.
16
                    Defendants.
17

18

19          IT IS HEREBY STIPULATED, by and between the parties hereto, by and through their
20   respective counsel, that the above-captioned matter shall be dismissed with prejudice, all sides to bear
21   their own fees and costs.
22          So stipulated.
23   Dated: July 9, 2014                            AD ASTRA LAW GROUP, LLP
24

25                                                  By    /s/ Katy M. Young
                                                         Katy M. Young
26                                                       Attorneys for Plaintiff
                                                         LLOYD BEARDSLEY
27

28

                                                       -1-
                  Stipulation and [Proposed] Order re Dismissal of Case – Case No. 3:13-cv-05138 WHA
 1                                     COMMINS & KNUDSEN, P.C.
 2
                                       By___/s/ Kit Knudsen__________________________
 3                                        Kit Knudsen
                                          Attorneys for Defendant
 4                                        SPEEDWAY SONOMA, LLC
 5
                                       SENNEFF FREEMAN & BLUESTONE, LLP
 6

 7                                     By /s/ Bonnie Freeman _______________________
                                          Bonnie Freeman
 8                                        Attorneys for Defendant
                                          COUNTY OF SONOMA
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28

                                          -2-
     Stipulation and [Proposed] Order re Dismissal of Case – Case No. 3:13-cv-05138 WHA
 1                                           [PROPOSED] ORDER
 2          Good cause appearing and the parties having stipulated, IT IS HEREBY ORDERED that
 3   the above-captioned matter be dismissed with prejudice, all sides to bear their own fees and costs.
 4

 5   Dated: July _____, 2014                           By____________________________________
                                                          HON. WILLIAM H. ALSUP
 6                                                       JUDGE OF THE DISTRICT COURT
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28

                                                      -3-
                 Stipulation and [Proposed] Order re Dismissal of Case – Case No. 3:13-cv-05138 WHA
